Case: 1:16-cv-00084-AGF Doc. #: 73 Filed: 02/22/18 Page: 1 of 1 PageID #: 1304




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

 Tara Rhodes,                                  )
                                               )
                        Plaintiff,             )
                                               )
 v.                                            ) No.    1:16-cv-84 AGF
                                               )
 Mississippi County, Missouri, et al.,         )
                                               )
                        Defendants.            )
                                               )

                    WRIT OF HAEBEAS CORPUS AD TESTIFICANDUM

 To:    The Warden
        Chillicothe Correctional Center
        3151 Litton Road
        Chillicothe, Missouri 64601

       Savannah Davis, inmate no. 1137914, a necessary witness at trial in this case on
 March 12, 2018, at 1:30 p.m., is confined at Chillicothe Correctional Center, 3151 Litton
 Road, Chillicothe, Missouri 64601, in the custody of the Warden.

        Upon the court's order (ECF No. 70), we command you to produce Savannah
 Davis to participate in trial proceedings before the Honorable Audrey G. Fleissig, United
 States District Court, 555 Independence Street, Cape Girardeau, Missouri 63703, on
 March 12, 2018, at 1:30 p.m., and from day to day until completion of her testimony or
 as ordered by the court, and thereafter return the inmate to Chillicothe Correctional
 Center.

        Further, you are ordered to notify the court of any change in custody of the inmate
 and to provide the new custodian with a copy of this writ.


 Dated: 2/22/2018




                                          Clerk of the United States District Court
